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                                         EXHIBIT 1

            GLOSSARY OF DEFINED TERMS, PEOPLE, AND ENTITIES

2017 Corporate Documents                    Goodman Networks emerged from bankruptcy
                                            on May 31, 2017. As part of its reorganization,
(also 2017 Bylaws, 2017 Certificate of      Goodman Networks executed the Sixth
Formation, and 2017 Shareholders            Amended        and    Restated     Shareholders’
Agreement)                                  Agreement        (the    “2017      Shareholders
                                            Agreement”), filed its Third Amended and
                                            Restated Certificate of Formation (the “2017
                                            Certificate of Formation”), and adopted its Third
                                            Amended and Restated Bylaws (the “2017
                                            Bylaws”). Collectively, these corporate
                                            documents       are   the    “2017    Corporate
                                            Documents.”

1Path                                       Onepath Systems, LLC (“1Path”) is a Georgia
                                            limited liability company acquired by American
                                            Metals Recovery and Recycling, Inc.
                                            (“AMRR”), along with AMR Resources, LLC
                                            (“AMR”).

                                            AMRR is the sole member and Member-
                                            Manager of 1Path. As the sole owner and
                                            Chairman of AMRR, James Frinzi controls
                                            1Path. Today, 1Path is part of MBG Holdings,
                                            Inc., formerly known as AMRR.

AMR                                         AMR Resources, LLC (“AMR”) is a Delaware
                                            limited liability company formed by Onepath
                                            Systems, LLC (“1Path”).

                                            American Metals Recovery and Recycling, Inc.
                                            (“AMRR”) acquired 1Path and AMR from
                                            MSouth Equity Partners.

                                            AMR is now part of MBG Holdings, Inc.
                                            (“MBG”).




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AMRR                                 American Metals Recovery and Recycling, Inc.
                                     (“AMRR”) was a Nevada corporation. At all
                                     times relevant to the causes of action in this
                                     Adversary Proceeding, AMRR was solely
                                     owned by James Frinzi and Shalom Auerbach
                                     was a director.

                                     Multiband Global Resources, LLC (“MGR”), a
                                     company also owned exclusively by James
                                     Frinzi, acquired AMRR. AMRR acquired AMR
                                     Resources, LLC (“AMR”) and Onepath
                                     Systems, LLC (“1Path”).

                                     AMRR converted to MBG Holding, Inc.
                                     (“MBG”), which is owned by James Frinzi.

Arris                                ARRIS Solutions, Inc. (“Arris”) was a
                                     multinational corporation that contracted with
                                     GNET ATC, LLC (“GNET”) to resell Arris
                                     technology on consignment to AT&T and other
                                     communication companies. Arris was acquired
                                     by CommScope UK Holdings, Ltd.

ATC                                  ATC Logistics, Inc. (“ATC”) was a Texas
                                     corporation that was owned and controlled by
                                     James Goodman. ATC had a contract to be a
                                     value-added reseller (VAR) for Federal Express,
                                     Inc. (“FedEx”). Goodman Networks acquired
                                     ATC.

Debtor                               In this Adversary Proceeding, the Debtor is
                                     Goodman Networks.

Defendants                           In this Adversary Proceeding, the Defendants are
                                     James Frinzi, James Goodman, Jason Goodman,
                                     and Joseph Goodman.




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FedEx                                 FedEx Supply Chain Logistics & Electronic, Inc.
                                      (“FedEx”) is a multinational publicly-traded
                                      corporation that contracted with Goodman and
                                      its subsidiaries whereby FedEx would facilitate
                                      and pay for Goodman Networks and its
                                      subsidiaries to purchase products and shortly
                                      thereafter repurchase those products from
                                      Goodman Networks and its subsidiaries at a
                                      0.2% markup. This contract with FedEx
                                      accounted for over 20% of Goodman Networks’
                                      revenue by 2021.

Frinzi, James                         James Frinzi (“Frinzi”) is a defendant in this
                                      Adversary Proceeding and a former officer of
                                      Goodman Networks. He served as Goodman
                                      Networks’ Vice President of Government
                                      Relations from 2010 before becoming its CEO in
                                      2021.

                                      Additionally, Frinzi is the owner and control
                                      person of additional entities that were utilized to
                                      effectuate various breaches of fiduciary duties
                                      including AMR Resources, LLC (“AMR”);
                                      American Metals Recovery and Recycling, Inc.
                                      (“AMRR”); MBG Holdings, Inc. (“MBG”);
                                      Multiband Global Resources, LLC (“MGR”);
                                      and Onepath Systems, LLC (“1Path”).

Genesis Enterprises                   Genesis Networks Enterprises, LLC (“Genesis
                                      Enterprises”) is a Texas limited liability
                                      company which owns 40.2% of Goodman
                                      Networks’ common stock. Genesis Enterprises
                                      is the sole member and Member-Manager of
                                      Genesis Networks Telecom Services, LLC
                                      (“Genesis Networks”) and Genesis Global
                                      Services, LLC.


Genesis Networks                      Genesis Networks Telecom Services, LLC
                                      (“Genesis Networks”) is a Texas limited liability
                                      company. Genesis Networks Enterprises, LLC
                                      (“Genesis Enterprises”) is the sole member and
                                      Member-Manager of Genesis Networks.




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GIH                                 Goodman Investment Holdings, LLC (“GIH”) is
                                    a Texas limited liability company. GIH
                                    purchased Goodman Networks’ e-commerce
                                    business for a $10 million promissory note in
                                    2021.

GNET                                GNET ATC, LLC (“GNET”) is a Texas limited
                                    liability company. GNET is a wholly-owned
                                    subsidiary of Goodman Networks. GNET held
                                    value-added reseller contracts with ARRIS
                                    Solutions, Inc. (“Arris”) and Federal Express,
                                    Inc. (“FedEx”). By 2021, these contracts
                                    accounted for 80% of Goodman Networks’
                                    revenue.

Goodman, Jake                       Jake Goodman is James Goodman’s son and not
                                    a party to this suit. Jake Goodman was a director
                                    of Goodman Networks from May 1, 2020, to
                                    June 8, 2021.

Goodman, James                      James Goodman is one of the Goodman
                                    Brothers, a defendant in this case, and a former
                                    officer and director of Goodman Networks.

                                    James Goodman was CEO of Goodman
                                    Networks from September 10, 2020, to March
                                    22, 2021.

                                    James Goodman was also Chairman of
                                    Goodman Networks’ Board of Directors from
                                    February 23, 2020, to February 1, 2022. He was
                                    the sole director from October 20, 2021 until he
                                    resigned as Chairman.




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Goodman, Jason                      Jason Goodman is one of the Goodman Brothers,
                                    a defendant in this case, and a former officer and
                                    director of Goodman Networks.

                                    Jason Goodman became a director and CEO of
                                    Goodman Networks on March 22, 2021. He
                                    resigned from both positions on October 20,
                                    2021. When he resigned, Jason Goodman elected
                                    James Frinzi as the CEO and left James
                                    Goodman as the sole director overseeing James
                                    Frinzi.

Goodman, John                       John Goodman is one of the Goodman Brothers.
                                    He is not a party to this case.

                                    John Goodman is a former officer and director of
                                    Goodman Networks. John Goodman was CEO
                                    and Chairman of Goodman Networks when it
                                    emerged from bankruptcy in May 2017. John
                                    Goodman remained Chairman until February 13,
                                    2020. He resigned as Chairman, but he remained
                                    as director on the Board of Directors until May
                                    1, 2020. John Goodman remained CEO of
                                    Goodman Networks until February 23, 2020.
                                    After stepping down as CEO, John Goodman
                                    stayed at Goodman Networks as the Chief
                                    Strategy Officer until April 30, 2020.

Goodman, Jonathan                   Jonathan Goodman is one of the Goodman
                                    Brothers. He is not a party to this case. Jonathan
                                    Goodman owns or controls approximately 6.1%
                                    of Goodman Networks’ common voting shares
                                    through his partial ownership of Goodman MBE
                                    Group, LP.




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Goodman, Joseph                     Joseph “Jody” Goodman is one of the Goodman
                                    Brothers, a defendant in this case, and a former
                                    director of Goodman Networks.

                                    Joseph Goodman became a director of Goodman
                                    Networks on March 22, 2021. He resigned on
                                    October 20, 2021. When he resigned, Joseph
                                    Goodman elected James Frinzi as the CEO and
                                    left James Goodman as the sole director
                                    overseeing James Frinzi.

                                    Joseph    Goodman    owns   or    controls
                                    approximately 6.1% of Goodman Networks’
                                    common voting shares through his partial
                                    ownership of Goodman MBE Group, LP.

Goodman Brothers                    The Goodman Brothers consist of James, Jason,
                                    John, Jonathan, and Joseph “Jody” Goodman.
                                    Collectively, the Goodman Brothers owned
                                    about 85.1% of the common voting shares of
                                    Goodman Networks through multiple entities,
                                    including Goodman MBE Group, LP; Genesis
                                    Networks      Enterprises  LLC     (“Genesis
                                    Enterprises”); GDMN Family Investments 2,
                                    LLC (“GDMN”); People NQ Inc. (“People
                                    NQ”); and JJC & People LLC (“JJC”).

                                    Through these entities, James Goodman controls
                                    about 57.5%, John Goodman controls about
                                    9.3%, and Jason, Jonathan, and Joseph Goodman
                                    each own about 6.1% of Goodman Networks’
                                    shares.




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Goodman MBE Group, LP               Goodman MBE Group, LP is a Texas limited
                                    partnership that owns approximately 30.6% of
                                    Goodman Networks’ common voting shares.
                                    Goodman MBE Group GP LLC is its General
                                    Partner, and is owned equally by the Goodman
                                    Brothers—James, Jason, John, Jonathan, and
                                    Joseph Goodman. At material times related to
                                    this Adversary Proceeding, Joseph Goodman
                                    was Goodman MBE Group GP LLC’s President.

                                    The Goodman Brothers are also equal Limited
                                    Partners of the Limited Partnership. At times
                                    related to this Adversary Proceeding, John
                                    Goodman is the Manager of the Limited
                                    Partnership.

Goodman Networks                    Goodman     Networks,     Inc.   (“Goodman
                                    Networks”) is a Texas corporation. Goodman
                                    Networks is the Debtor and Plaintiff in this
                                    Adversary Proceeding. Goodman Networks
                                    emerged from bankruptcy in 2017.

                                    Over 85.1% of Goodman Networks is controlled
                                    by the Goodman Brothers—James, Jason, John,
                                    Jonathan, and Joseph Goodman.

                                    Goodman Networks wholly owns subsidiaries
                                    that include GNET ATC, LLC, a Texas limited
                                    liability company, and Multiband Field Services,
                                    Inc., a Delaware corporation.




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Goodman Telecom                       Goodman Telecom Services, LLC (“Goodman
                                      Telecom”) was a Texas limited liability
                                      company. John Goodman and Scott Pickett,
                                      nonparties to this Adversary Proceeding, are
                                      members of Goodman Telecom. John Goodman
                                      is the Member-Manager of Goodman Telecom.

                                      On June 30, 2020, Goodman Networks entered
                                      into an insider transaction with Goodman
                                      Telecom to purchase Goodman Networks’
                                      Infrastructure Services and Professional
                                      Services Divisions, excluding a system
                                      Goodman Networks maintains on LSU’s
                                      campus, in exchange for $32,511,107 in cash
                                      and $8 million in Class E Units of Goodman
                                      Telecom.

Hill Innovative Law, LLC              In December 2021, Hill Innovative Law, LLC
                                      acted as an escrow agent for Repository
(also Hill, David)                    Services, LLC (“Repository”) when Repository
                                      sold American Metals Recovery and Recycling,
                                      Inc. (“AMRR”) to Multiband Global Resources,
                                      LLC (“MGR”).

Keiffer, Mark                         Mark Keiffer was a director of Goodman
                                      Networks when it emerged from bankruptcy in
                                      May 2017. Mark Keiffer remained a director
                                      until September 10, 2020, when he resigned.

                                      Mark Keiffer was also CEO of Goodman
                                      Networks from February 23, 2020, to September
                                      10, 2020, when he resigned.

MBG                                   MBG Holdings, Inc. (“MBG”) is a Nevada
                                      corporation solely owned by James Frinzi.

                                      In February 2023, American Metals Recovery
                                      and Recycling, Inc. (“AMRR”) changed its
                                      name to MBG Holdings, Inc. (“MBG”).




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MFS                                    Multiband Field Services, Inc. (“MFS”) is a
                                       Delaware corporation. It is a wholly-owned
                                       subsidiary of Goodman Networks. MFS
                                       provides field services to customers through
                                       network and electronics technicians. By 2021,
                                       MFS’s field services business accounted for
                                       approximately 20% of Goodman Networks’
                                       revenue.

MGR                                    Multiband Global Resources, LLC (“MGR”) is a
                                       Delaware limited liability company. James
                                       Frinzi is the sole member and Member-Manager
                                       of MGR.

                                       In December 2021, MGR acquired American
                                       Metals Recovery and Recycling, Inc. (“AMRR”)
                                       from Repository Services, LLC. AMRR was a
                                       publicly-traded shell company.

Multiband USA                          Multiband USA, LLC (“Multiband USA”) was a
                                       Delaware limited liability company that James
                                       Frinzi formed to be a shell company to acquire
                                       GNET ATC, LLC’s (“GNET’s”) profitable
                                       assets.

Notes                                  Goodman Networks emerged from bankruptcy
                                       on May 31, 2017. To reorganize, Goodman
(and Noteholders)                      Networks sold $112 million in 8% senior
                                       secured notes (the “Notes”) to various creditors
                                       (the “Noteholders”). The Notes were secured
                                       by, inter alia, the trademarks and other
                                       intellectual property of Goodman Networks,
                                       GNET, and MFS. The Notes matured on May
                                       31, 2022.

Repository                             Repository Services, LLC (“Repository”) owned
                                       American Metals Recovery and Recycling, Inc.
                                       (“AMRR”) and sold it to Multiband Global
                                       Resources, LLC (“MGR”) in December 2021.

SierraConstellation Partners           SierraConstellation Partners is an advisory and
                                       consulting firm that Goodman Networks hired to
                                       navigate through difficult business challenges.




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Signal                               Signal Messenger (“Signal”) is a private peer-to-
                                     peer messaging service where, among others,
                                     James    Goodman       and      James      Frinzi
                                     communicated about Goodman Networks’
                                     matters.

Stauber Law Office                   In December 2021, Stauber Law Office acted as
                                     an escrow agent for Multiband Global
                                     Resources, LLC (“MGR”) to acquire American
                                     Metals Recovery and Recycling, Inc. (“AMRR”)
                                     from Repository Services, LLC (“Repository”).

Trustee                              In this Adversary Proceeding, the Trustee is
                                     Scott Seidel, and the Trustee represents the
                                     bankruptcy estate of Goodman Networks.

UFS                                  Unified Field Services, Inc. (“UFS”) is a Texas
                                     corporation formed on April 7, 2021. At all
                                     material times related to this Adversary
                                     Proceeding, James Goodman was a director and
                                     officer of UFS.

                                     Goodman Networks unfavorably transacted with
                                     UFS including by paying $5,986,898 of UFS
                                     expenses, purportedly in exchange for UFS’s
                                     promise to repay Goodman Networks.

VAR                                  A value-added reseller (“VAR”) is a company
                                     that resells other company’s products and
                                     services. In this Adversary Proceeding, GNET
                                     ATC, LLC (“GNET”) is a VAR of other
                                     company’s technologies and services, including
                                     ARRIS Solutions, Inc. (“Arris”) and Federal
                                     Express, Inc. (“FedEx”).




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